       Third District Court of Appeal
                               State of Florida

                        Opinion filed August 21, 2024.
       Not final until disposition of timely filed motion for rehearing.



                             No. 3D23-2104
                       Lower Tribunal No. 22-11188



                          Napiche 1961, LLC,
                                  Appellant,

                                     vs.

            Citizens Property Insurance Corporation,
                                  Appellee.



     An Appeal from the Circuit Court for Miami-Dade County, Pedro P.
Echarte, Jr., Judge.

      Shield Law Group of Florida, LLC, and Jamie Alvarez (Davie), for
appellant.

      Lydecker, Michelle Diverio, and Alejandro Sanchez Parraga, for
appellee.


Before LOGUE, C.J., and FERNANDEZ and GORDO, JJ.

     PER CURIAM.
     Affirmed. See Perez v. Citizens Prop. Ins. Corp., 343 So. 3d 140 (Fla.

3d DCA 2022).




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